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                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF LOUISIANA


   IN RE:                                                              CASE NO. 17-11213

   FIRST NBC BANK HOLDING COMPANY                                      SECTION “A”

                 Debtor                                                CHAPTER 11




     NOTICE OF FILING OF PLAN DOCUMENTS WITH RESPECT TO THE SECOND
           AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION



          PLEASE TAKE NOTICE THAT First NBC Bank Holding Company (“the Debtor” or

   “FNBC”), as the joint proponent with the Official Unsecured Creditors’ Committee (“the

   Committee”), hereby files the attached as Plan Documents as contemplated by Section 1.1.77 of

   the Second Amended Joint Chapter 11 Plan of Reorganization [Doc. 621] (the “Plan”) filed on

   July 2, 2019 as well as the proposed immaterial Modifications to the Plan filed on March 6, 2020

   and as may be required by 11 U.S.C. 1129(a)(4),(5), and (11).

          A. Form of FRI Escrow Agreement between FIRST PHOENIX SPV, LLC (“the

              Company”), FIRST NBC BANK HOLDING COMPANY, and THE STEFFES

              FIRM, LLC (“Escrow Agent”) establishing an escrow account with Escrow Agent for

              funds forwarded by First Round Investors, to be held for the benefit of First Round

              Investors and the Company until the first to occur of the expiration of the Offering, or

              such time as all Plan Conditions (as defined in Section 3 of the Escrow Agreement)

              have been satisfied.
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         B. A copy of the Litigation and Distribution Trust Agreement as filed with the Court on

            July 2, 2019 at Docket No. 622-3.

         C. Copies of FNBC Employment Agreements with Shivan Govindan and Andrew Nash,

            insiders of the Debtor.

         D. A brief summary of the Business Plan to be implemented upon Confirmation of the

            Plan and occurrence of the Effective Date (as defined in the Plan).

         E. A disclosure of the identities of the directors and officers, and their compensation, who

            will serve upon Confirmation of the Plan and occurrence of the Effective Date.

         F. A disclosure of certain compensatory stock options to be granted to directors and

            certain cash incentives of $75,000 to each of Matt Elsom, Mark Haden, and Andrew

            Nash upon Confirmation of the Plan and occurrence of the Effective Date; and,

            warrants to be issued after Confirmation of the Plan and occurrence of the Effective

            Date.



                                               Respectfully submitted by:

                                               /s/ William E. Steffes
                                               William E. Steffes, #12426
                                               Barbara B. Parsons, #28714
                                               THE STEFFES FIRM, LLC
                                               13702 Coursey Boulevard Building 3
                                               Baton Rouge, LA 70817
                                               Telephone: (225) 751-1751
                                               Facsimile: (225) 751-1998
                                               Email: bsteffes@steffeslaw.com
                                               Counsel for First NBC Bank Holding Company, Debtor
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                                    EXHIBIT A

                            FRI ESCROW AGREEMENT
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                                     EXHIBIT B

                      Litigation and Distribution Trust Agreement
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                                     EXHIBIT C

                  • FNBC Employment Agreement with Govindan
                  • FNBC Employment Agreement with Nash
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                                     EXHIBIT D

                               Business Plan Summary
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                                         First NBC Bank Holding Co.

                                               Business Plan

                                               February 2020



   Shivan Govindan, CEO, and Andrew Nash, CFO (cumulatively, the “Management Team”), and the Board
   of Directors (“Board”) have been continuously working on a plan for First NBC Bank Holding Co. (the
   “Company”) to emerge from Chapter 11 since May of 2017 while developing a plan and engaging in
   negotiations to evolve into new operations.

   The Company has been successfully raising $6 million in a common stock offering to finance its
   emergence from bankruptcy. Those funds will settle creditor claims and finance its ongoing operations.

   Each member of the Management Team has executed employment contracts with the Company that will
   be effective once the Company emerges from Chapter 11 and the reorganization plan becomes effective.

   There is substantial continuity at the Company. CEO Shiv Govindan has been a Director of the company
   since 2006, Chairman since 2017, and CEO since 2018. Mr. Nash was Senior Vice President of the
   Company’s subsidiary since 2011, and CFO since 2017. The Board includes members whose tenure
   extends back to the formation of the Company in 2006

   FNBC Bank Holding Co.’s former chief subsidiary’s primary business was lending. CFO Andrew Nash has
   extensive experience in accounting and finance functions at financial institutions. Several of
   management and board have experience in managing publicly traded and private credit investments.
   CEO Shiv Govindan has extensive experience managing private equity investments and operating
   businesses that make such investments. The Company’s investors have experience investing in public
   and private equity and debt instruments, and other financial instruments.

   The Company continues to leverage its experience as a lender, and the experience, expertise, and
   contacts of its Management Team, Board, and investors to continue developing asset management
   operations investing both for its own account and on behalf of other investors.



   The categories of investments contemplated include:

       •   Credit: The Company intends to continue its 13+ year history in lending, leveraging its
           experience and market knowledge to identify attractive lending opportunities. These
           opportunities include direct lending (i.e., providing funds directly to borrowers) as well as
           purchasing credit exposure on the secondary market.
       •   Private Equity: Mr. Govindan has substantial experience in venture capital and private equity
           investing. The Company has been leveraging his experience, and that of the board and
           investors, to raise capital and identify and negotiate investment opportunities.
       •   Structured Finance: Mr. Govindan has substantial experience with structured finance
           investments, and substantial contacts with industry participants. The Company has been
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           leveraging his experience, and that of the board and investors, to identify partners, negotiate
           with investors and seek investment opportunities.



   The characteristics of the investments contemplated include:

       •   Regulated businesses. The Company and its Management, Board, and investors have extensive
           experience investing in and operating within regulated industries.
       •   Large scale potential: The Company seeks to make investments in industries and particular
           companies that evidence the potential for accommodating additional capital if the Company
           can successfully scale its operations, such companies operating in the franchise-franchisee
           construct.
       •   Structural sophistication: Mr. Govindan and others have extensive experience with highly
           structured financial transactions, including over the counter derivatives and structured finance.
           The Company intends to use that expertise to broaden the scope of its potential investments,
           as well as to employ sophisticated structuring to maximize the Company’s benefit of those
           investments.

   The Company believes these categories and characteristics represent examples of investments in which
   the Company enjoys a competitive advantage.

   The Company will seek creative methods for financing and identifying exposure to the desired
   investments. As such, the Company may seek to enter into joint ventures or other contractual
   agreements with fund managers or others that have beneficial interests in such assets. The Company
   has been working with an adviser to help source and structure these transactions.
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                                            EXHIBIT E

                                 Officer and Director Disclosures

          After confirmation of the Plan (“Confirmation”) and the occurrence of the Effective Date,

   the board of directors of the Debtor (the “Board”) shall consist of seven (7) persons, including

   Shivan Govindan, Blake Jones, Lee Foley, Lee Giorgio, and Navid Abghari; and, within three (3)

   months of the first Board meeting after entry of the Confirmation Order, FNBC shall cause Tim

   Babich and one other individual, designated by Nexxus Holdings, Inc., (or any other individual as

   may be designated by First Phoenix SPV, LLC from time to time, not to exceed two individuals at

   any point in time) (each a “Phoenix Director” and together, the “Phoenix Directors”) to be

   appointed to the Board. Mr. Govindan, Mr. Jones, Mr. Foley, Mr. Giorgio each currently serve as

   directors and have served since the filing of the Chapter 11 case. Mr. Abghari is a member of the

   Committee. Nexxus Holdings, Inc. will be the largest investor in First Phoenix SPV, LLC, the

   entity that will provide funding for implementation of the Plan.

          After Confirmation and the occurrence of the Effective Date, Shivan Govindan shall serve

   as the Chief Executive Officer of the Debtor to be compensated as set forth in the Employment

   Agreement attached as Exhibit C and Andrew Nash shall serve as the Chief Financial Officer of

   the Debtor to be compensated as set for the in the Employment Agreement attached as Exhibit C.
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                                             EXHIBIT F
                              Stock Option and Warrant Disclosures
          After Confirmation and the occurrence of the Effective Date, the Debtor contemplates

   issuance of the following compensatory awards to officers of FNBC: (i) 400,000 options

   exercisable at $0.50 per share (380,000 of which have vested) to Blake Jones, Chief Restructuring

   Officer; (ii) 400,000 options exercisable at $0.50 per share (380,000 of which have vested) to

   Shivan Govindan, Chief Executive Officer; (iii) 400,000 options exercisable at $0.50 per share

   (380,000 of which have vested) to Andrew Nash, Chief Financial Officer; (iv) 50,000 options

   exercisable at $0.50 (47,500 of which have vested) to Matt Elsom, Senior Financial Analyst; (v)

   50,000 options exercisable at $0.50 (47,500 of which have vested) to Mark Haden, Business

   Development Officer. In addition, after confirmation and the occurrence of the Effective Date, the

   Debtor contemplates payment of (A) approved cash incentives of $75,000 to each of Matt Elsom

   and Mark Haden, and $100,000 to Andrew Nash and (B) intends to approve equity incentive

   awards (in the form of either stock options or stock appreciation rights) representing up to

   1,100,000 shares or share equivalents to members of the executive management of FNBC. In

   addition, after Confirmation and the occurrence of the Effective Date, the Debtor contemplates

   issuance of warrants, exercisable for a period of five (5) years from the Effective Date, to purchase

   600,0000 shares of common stock exercisable at $0.3896 per share to Nexxus Holdings, Inc. (or

   an affiliate of Nexxus Holdings, Inc.), the largest First Round Investor.
